Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 1 of 37 PageID #:163
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 2 of 37 PageID #:164
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 3 of 37 PageID #:165
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 4 of 37 PageID #:166
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 5 of 37 PageID #:167
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 6 of 37 PageID #:168
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 7 of 37 PageID #:169
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 8 of 37 PageID #:170
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 9 of 37 PageID #:171
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 10 of 37 PageID #:172
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 11 of 37 PageID #:173
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 12 of 37 PageID #:174
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 13 of 37 PageID #:175
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 14 of 37 PageID #:176
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 15 of 37 PageID #:177
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 16 of 37 PageID #:178
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 17 of 37 PageID #:179
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 18 of 37 PageID #:180
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 19 of 37 PageID #:181
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 20 of 37 PageID #:182
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 21 of 37 PageID #:183
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 22 of 37 PageID #:184
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 23 of 37 PageID #:185
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 24 of 37 PageID #:186
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 25 of 37 PageID #:187
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 26 of 37 PageID #:188
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 27 of 37 PageID #:189
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 28 of 37 PageID #:190
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 29 of 37 PageID #:191
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 30 of 37 PageID #:192
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 31 of 37 PageID #:193
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 32 of 37 PageID #:194
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 33 of 37 PageID #:195
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 34 of 37 PageID #:196
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 35 of 37 PageID #:197
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 36 of 37 PageID #:198
Case: 1:96-cr-00553 Document #: 710 Filed: 02/14/05 Page 37 of 37 PageID #:199
